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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
IN RE: VALEANT Civil Action No. 15-7658
PHARMACEUTICALS
INTERNATIONAL, INC, SECURITIES
LITIGATION JUDGE MICHAEL A. SHIPP

 

THIS DOCUMENT RELATES TO;

18-cv-0089-MAS-LHG (GMO Trust)

 

 

 

STIPULATION AND
WHEREAS, plaintiffs in GA4O Trust, et al. y. Valeant Pharmaceuticals International, Inc.,
et al, No, 18-cy-0089-MAS-LHG (“Plaintiffs”), have filed a Complaint against Valeant
Pharmaceuticals International, Inc., J. Michael Pearson, and Howard B, Schiller (together,
“Defendants,” and together with Plaintiffs, the “Parties”);
WHEREAS, on January 19, 2018, the Court entered a Stipulation and Confidentiality
Order (the “Confidentiality Order,” attached hereto as Exhibit A) in T. Rowe Price Growth Stock
Fund, Ine., et al. v. Valeant Pharmaceuticals International, Inc., et al., No, 16-cv-5034-MAS-
LHG (ECF No. 89); Equity Trustees Limited, et al. v. Valeant Pharmaceuticals International, Inc.,
et al, No. 16-cv-6127-MAS-LHG (ECF No. 85); Principal Funds, Inc., et al. v. Valeant
Pharmaceuticals International, Inc, et al., No. 16-cv-6128-MAS-LHG (ECF No. 83);
BloombergSen Partners Fund LP, et al. v. Valeant Pharmaceuticals International, Inc., et al., No.
16-cv-7212-MAS-LHG (ECF No. 82); Pentwater Equity Opportunities Master Fund Ltd., et al. v.
Valeant Pharmaceuticals International, Inc., et al., No, 17-cv-7552-MAS-LHG (ECF No. 42);
Discovery Global Citizens Master Fund, Lid., et al. v. Valeant Pharmaceuticals International,
Inc., et al, No, 16-cv-7321-MAS-LHG (ECF No. 74); MSD Torchlight Partners, L.P., et al. v.

Valeant Pharmaceuticals International, Inc., et al., No. 16-cv-7324-MAS-LHG (ECF No. 74);
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BlueMountain Foinaven Master Fund L.P., et al. vy. Valeant Pharmaceuticals International, Inc.,
et al, No, 16-cy-7328-MAS-LHG (ECF No. 74); Incline Global Master LP, et al. v. Valeant
Pharmaceuticals International, Inc., et al., No. 16-cv-7494-MAS-LHG (ECF No. 75); Valic
Company I, et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 16-cv-7496-MAS-
LHG (ECF No. 75); Janus Aspen Series, et al. vy, Valeant Pharmaceuticals International, Inc., et
al., No, 16-cv-7497-MAS-LHG (ECF No. 80); Okumus Opportunistic Value Fund, Ltd. v. Valeant
Pharmaceuticals International, Inc., et al., No, 17-cv-6513-MAS-LHG (ECF No. 48); Public
Employees Retirement System of Mississippi v. Valeant Pharmaceuticals International, Inc., et al.,
No. 17-cv-7625-MAS-LHG (ECF No, 69); The Boeing Company Employee Retirement Plans
Master Trust, et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 17-cv-7636-MAS-
LHG (ECF No. 71); Lord Abbeit Investment Trust—Lord Abbett Short Duration Income Fund, et
al. v. Valeant Pharmaceuticals International, Inc., et al., No. 17-cv-6365-MAS-LHG (ECF No.
70); State Board of Administration of Florida v. Valeant Pharmaceuticals International, Inc., et
al,, No. 17-cv-12808-MAS-LHG (ECF No. 19); and The Regents of the University of California
v. Valeant Pharmaceuticals International, Inc., et al., No. 17-cv-13488-MAS-LHG (ECF No. 19)
(collectively, the “Actions”);

WHEREAS, Paragraph 33 of the Confidentiality Order provides that it “shall apply to any
action deemed related to In re Valeant Pharmaceutical International, Inc. Sec. Litig., Master No.
3:15-cv-7658-MAS-LHG, including currently pending actions and subsequently filed actions”;

WHEREAS, on October 12, 2018, the Court entered Case Management Order No. 1 (ECF
No. 45), stating that this action is related to In re Valeant Pharmaceutical International, Inc. Sec.

Litig., Master No. 3:15-cv-7658-MAS-LHG;
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IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of

the Parties, that the Confidentiality Order entered in the Actions shall apply to this action,

Stipulated and agreed to by:
Dated: August 6, 2019
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